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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                         August 17, 2022
                              UNITED STATES DISTRICT COURT
                                                                                        Nathan Ochsner, Clerk
                               SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

JAVIER RICARDO ROJAS and MARIA         §
DELILA ROJAS,                          §
                                       §
      Plaintiffs,                      §
                                       §
VS.                                    §
                                       §
                                         CIVIL ACTION NO. 7:22-cv-00132
BANK OF NEW YORK MELLON TRUST §
COMPANY, N.A., as Trustee on behalf of §
CWABS Asset-backed Certificated Trust §
2007-12; and CARRINGTON                §
MORTGAGE SERVICES, LLC,                §
                                       §
      Defendants.                      §

                                       FINAL JUDGMENT

           The Court’s August 17, 2022, order dismissed all of Plaintiffs Javier Ricardo Rojas’ and

Maria Delila Rojas’ claims with prejudice.1 The Court now renders final judgment in accordance

with Federal Rule of Civil Procedure 54. All issues in this case are resolved by the Court’s orders.

The Court holds that Plaintiffs take nothing by this suit. Each party is to bear its own costs. Any

relief not expressly granted in this final judgment is hereby DENIED. This case is terminated, and

the Clerk of the Court is instructed to close the case.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 17th day of August 2022.


                                                      __________________________________
                                                                  Micaela Alvarez
                                                             United States District Judge



1
    Dkt. No. 5.


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